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Incident Report Number

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Arkansas Uniform Incident Report A-03/15-03831CP
| Type Incident Incident Date Incident Time
| $ POSS METHAMPHETAMINE 3/30/2015 04:00 PM
U Call Location Call Date Call Time
| rn PATROL CHECK 3/30/2015 04:00 PM
A |I|ncident Address Incident City Incident State Incident Zip Code
R ENTRANCE RAMP KERR RD TO !-40 EAST LONOKE AR 72806
Y Number of Subjects Number of Vehicles Unit Assigned
1 1 H-27
The Subject is: Subject SSN
S OWNER, SUSPECT
U Subject - Last Name Subject - First Name Subject - Ml Subject - Suffix |Subject - Telephone #
F | LEON JAVIER
E |Subject - Address Subject - City Subject - State Subject - Zip Code
Cc MORENO VALLEY CA 92555
T Subject - Driver License Number Subject - DL State| Subject - OL Endorsements Subject - DL Class DL Restrictions
CA A CORR LENSE
1 Subject - DOB Subject - Race Subject - Sex Subject - Height Subject - Weight Subject - Hair Color |Subject - Eye Color
HISPANIC MALE 5°06" 195 Ibs. BLACK BROWN
Subject - Employer Subject - Work Number
Subject - Employer Address Subject - Employer City Employer State Subject - Employer Zip Code
Injury Transported TRANSPORTED BY
L] ves &XINo
HOSPITAL NAME HOSPITAL CITY HOSPITAL STA

 

 

 

Subject - Additional Information

 

Vehicle Class

 

 

 

 

 

 

 

 

 

 

V SUBJECT OF REPORT
E Year Make Model Plate - Year Plate - State
" 2004 PETERBILT CONVENTIONAL TRUC} 2015 CALIFORNIA
C |Plate - Number Vehicle - Body Vehicle - Color Vehicle Identification Number
L VP94511 TRUCK MAROON 1XP5DB9X34D805834
E Vehicle Towed NAME OF TOWING SERV! ADDRESS VEHICLE REMOVED
1 | [] ves
CITY VEHICLE REMOVED STATE VEHICLE REMOVED ZIP VEHICLE REMOVED
XX] No
Remarks

 

 

 

SRR os a a ee ee Se ee ee oe ee eae
Narrative

 

| OBSERVED A TRACTOR TRAILER SITTING ON THE SHOULDER OF THE ENTRANCE RAMP FROM KERR ROAD TO I-40 EAST. | PULLED IN
FRONT OF IT AND GOT OUT TO CHECK, WHEN | NOTICED THE DRIVER WAS SITTING AT THE WHEEL. | STEPPED ON TO HIS DOORSTEP TO
SEE WHAT THE TROUBLE WAS. HE SEEMED VERY NERVOUS AND MADE IT KNOWN TO ME THAT HE KNEW HE WAS NOT SUPPOSE TO
PARK THERE, BUT INDICATED HE HAD TO TALK TO HIS DISPATCH. | ACKNOWLEDGED THAT HE WAS NOT SUPPOSE TO PARK THERE, BUT
HE CONTINUED TALKING ABOUT IT. HE ASKED IF IT WAS OKAY TO PARK THERE IN AN EMERGENCY. | ASKED HIM IF HE WAS HAVING AN
EMERGENCY AND HE SAID HE WAS NOT. | ASKED HIM WHAT HE WAS HAULING AND HE INDICATED HE HAD 20 DROPS OF FURNITURE. HE
ALSO TOLD ME THAT HE OWNED THE FURNITURE STORE WHERE HE LOADED. | ASKED IF | COULD LOOK AT HIS BILL OF LADING AND IT
SHOWED HE LOADED ON THE 26TH OF MARCH, | ASKED IF | COULD LOOK AT HIS LOG BOOK AND IT SHOWED HE WAS OFF ABOUT 2
WEEKS PRIOR TO THE DATE ON THE BILL OF LADING, BUT THAT HE DID NOT LEAVE CALIFORNIA UNTIL THE 28TH OF MARCH. | ASKED
LEON ABOUT THERE BEING ANYTHING ILLEGAL IN THE VEHICLE AND HE TOLD ME THERE WAS NOT, BUT | STILL BELIEVED HE WAS VERY
UNCOMFORTABLE ABOUT THE QUESTION. | MENTIONED SPECIFIC DRUGS BY NAME AND TO EACH HE HELD HIS HANDS STRAIGHT UP
PALMS TOWARD ME, MOVED HIS HEAD FROM SIDE TO SIDE AND SAID NO SEVERAL TIMES TO EACH SPECIFIC. | FELT THE RESPONSE
WAS AN OVER REACTION TO THE NORMAL AND PERCEIVED IT AS NERVOUSNESS ON HIS PART. | ASKED FOR PERMISSION TO SEARCH
THE VEHICLE AND HE GRANTED IT. | TOLD HIM THAT HE HAD THE RIGHT TO TELL ME NO AND ASKED IF IT WAS STILL OKAY FOR ME TO
SEARCH HIS VEHICLE. HE AGAIN SAID IT WAS OKAY. | ASKED HIM TO TAKE THE PADLOCK OFF THE REAR DOOR AND OPEN ONE DOOR.
WHEN HE DID | OBSERVED THAT THE TRAILER APPEARED TO BE FULLY LOADED WITH FURNITURE AS HE HAD SAID. | DECIDED TO GETA
CANINE TO THE SCENE AND CONTACTED TROOPER CHASE MELDER. HE CAME AND RAN HIS DOG AND THEN CRAWLED ABOVE THE
CARGO TO WHERE THE METHAMPHETAMINE WAS LOCATED. | THEN CUFFED AND PLACED LEON IN THE REAR OF MY VEHICLE. | DROVE
THE TRACTOR AND SEMI-TRAILER TO THE CO-OP BETWEEN LONOKE AND CARLISLE WHERE IT WAS OFF LOADED TO THE POINT OF
BEING ABLE TO GET TO 6 CLEAR JUGS AND 14 WHITE JUG OF LIQUID. THERE WERE 20 BUNDLES OF WHAT WAS ALSO BELIEVED TO BE
METHAMPHETAMINE, THE TOTAL

 

 

 

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Narrati.<

WEIGHT WAS 276 POUNDS GROSS. CPL TRENTON BEHNKE ASSISTED AND HE RELEASED THE EVIDENCE TO LITTLE ROCK PD OFFICER
FOR PROPER STORAGE. BEHNKE ALSO MADE OUT THE SEIZURE FORFEITURE FORM TO CONFISCATE THE TRACTOR AND TRAILER
WHICH | ESTIMATE WOULD BE VALUED AT $75,000.00. THE SUSPECT WAS JAILED AT LONOKE COUNTY DETENTION CENTER FOR
TRAFFICKING METHAMPHETAMINE.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rank Officer - Last Name Officer - First Name Officer - MI Otficer - Suffix
SRCF CRAIG OLEN L

Officer - Signature Officer - Department

ASP - TROOP H

Ss. aed Rasa, 314 Officer - Badge Number

0314
Rank Supervisor - Last Name Supervisor - First Name Supervisor - Mi Supervisor - Suffix
Supervisor - Signature Supervisor - Department

Supervisor - Badge Number

 

 

 

 
